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                         8o.cKc6rou() cl
           '3. The. cbf~d~flf-- 10 ttA: 5 4c.-fr'oA (.)-)as ~ c...
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  Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 3 of 31 PageID: 492




                      D i.5 cuss ion
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fq1'Q.. ju.J~q~\ f\&+-ic.e., oP th'<!.. 02-\~J°'{\+ rue,+or5
  ~'1<-vrt~ thcti- wi I l ~OYtsf r ~ ~Gel cau.s~
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  with       f~J'-"~~c.~~
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  W\cl rus b~1 'd' \I~ Urv11f-e_c{ Ju.risJ!('c.,~ fo f-2I'k>rM
 dethe-5 s{l<.c..; ACCll\y d~l~J~ b'( c.,,n5 r.:<;s. J:.
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  APP l; Ckh\ O v'I of' -fe,r /Y15 '.
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 s (Q,tT\-- or 6- u.{i.10 rrl-y i:, ~ loe a_ CCD(' ~ ';)tAbsf-c.,, vrf-i'a, \
  a&er~C"e-           by   f'e_\(\~i~)               CCU.C'{S 1 0.d.lY\l/l15iTC{i-,\)Q.,
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  q~y QCiiOvl·          • ,     I<




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Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 5 of 31 PageID: 494




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   f(bfft:.cc~ i11e J~~t rn-ft1; s i11-s+C\ntoe:/ion ~
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   tio-01 ~~,;c..he.5-rC\bl~siA~ th'<-- Bu~u. or Alcohol,
  To0c.cco CtAcl F~ r«.C\l'vYlS I Ufl)iq_/' 11,,ze... qufl,w.rtfy i>-,
   ~eor~~n;:za+;oo t\:v> ND. i~ of l45D 6.flci. ~,is
   Q~+hori+y, He o~ctef'e..c.l t\ ••• fm,A5fe.r1 a 5 Sf~cl1E2q
   \1..2-fe..i 11 1fne hJ.11e+to/75   1   Po u-:id ~ ~rd J~-h~s             of -hr<-,
  ~t1~m\                        ~v~c:.~ uJ'1si,13 uviJ~r lclws
                 ,t<<c,\}i.:,~\u~

   ('e. la:ti :::) +o cdcoVlo l J fo ~cc.o 1 ~; r~a..r r,,\S , q n A

   e.xr{o s,\Je.,,s (i flCkl_d_j n3 +w- Ale.ob\ )To6a.cco I C\Act.
   Fl ('~ '"'·r O"v\ 5 Di'<c•. 5; Oi/', o~ -ttr\~ D1\tt' 5r'ov, oP +11~
  !nfurt4{ Re.vt,nu.~ 3~-rY/c..t:.) -fo fhE:.., gu.rea.u cF
   A\co\;'"°\ )Toloa..cco CV"\d. Rc~o..rms Cher~in«Ptzr ,e-0re.d
   fD as the. 8 U,f<L°'-U J W h~ck IS h0'e.io1 e?-tubl1Sb1<2.c.\ ,
  l11e... ·(ju_1e_o.\,\ SlAQ Ll be_ h~~ loy +rt~
   b; rec+o,J A\.cok6l, Totoqcco                          Q('tcl   B~c\r(v;s

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                                      _ ).
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    ( \1t::_1re.~ l\C\9+~.J      fe.,~-r~J -tn        QS +'n(c      D: rcc-6";.
    t11e.. 1) {('es:.,~r S ~"\Cl\\ ,rQJ-Po(\iY\ 'l;); t> ct_;_,t,cs
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    of' -ft,'LTre<:\Sury Cb'')€.\~~\na.P·+~x ~£.rO: ~ ~
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     ~ v_ ~~er \l; 5 /otr\ o{ -th x:., A-s~ >s+O\vrt 5<z c re,,kf'Y
    C.EI/\P o<ceVY\~t,T(-Jl°'-<'<"'~9      Ctnol'lro\.dQ_ .A~C\·, 05) a(t(\
     D~~.:f'C\~6115)           (h~r~)/'\CA.~-ter f"<---F''<..rria~ -fo CtS'tn'<--
     A;5S;6fD..tJ+ S.crd-ury I.                 '

               }D. 'Tre.?t5ury Or.)e..{' l?-0-D(                     C{   ~,/jneof
    -~ -H1~ n~ GAT~ Cl14(*~-l'5 51) S2;q()JS~
    o.P f ~z.. Ivrf-e.rV\et l K'<-J<v,u~ G)cl~ c~ ll54                          qv7J
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    ~ ~ - s Col ~row~                        <30      1nclu.s,'v~ of' ft1 "'(__
    Trrrr,{ ()o) Ra_v'<&1 IA~ C1d~ or- l'15~, +he_ f d'<ftt \
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                       ;   n r i~5; f-r,e_   5\A pr~rn~ Cow+               }1_o_d_
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                                                /Y)
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    °' 5-r~e.~ \}..),~,n TD (2°-bl -Hio+ ;s v~v1y
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                   n1   ~ +e.f\N\s ' Di r 1::_c__for l Alco~ 6 { )To b:tCCb
    CJ.V\d f:°ir~~c111g D;\/i:>;ov11, G\ivlcl (, C0M'f\\.\SS1Dl7~
    (S~ LV\+e_r v'\ctl Ke_v~V\U ~ l w'h~~V\':J( us~ \ ()

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Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 7 of 31 PageID: 496




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          I   v'rt'""-S'flCd Re\)~)l,\~ s<;:J'yic~   CIP-s'J) c.r~~-Hn3        ~\SL

          bA-w )6s1d Th<.,v')) wifi1 --f}iq+ 5-ftc+<-m~t,f-) jot'nE:c}
         +-ne.m   kX:tcr:.. +cxyJv1«.{'   Q~fl~0  info oa~. :CV? fhrz
          FeJIZ.l'""lf / f2e~t f&~s, V i uvn~ Y. l1 f\J U~01~iCt' 1?£-> 1 of"
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          \))e_J v1 <e..S Ju y· 1 l:J Se,p~ b'<f 117 ~ : the. i'zffY)
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         C\r? cl o'2ri c.«s of frKMtb~ 5 c...nJ. 4ctJvtiJ\ 1sfrqfot
         71,,,~f~.,oP ~"'~ o.'ao \; j ht,~ qc-0 -ft.t~ I' pu_c.,{i OV1 S
         dir~G~ fr;, 0~ C1dV1-t1-1ti5~cl LNAd~r d\0<c-fion
          C,v1cl 5u(l2J"'-/ \~/o~,, of tk~ O~cr'C...-\.ury of=! i-h.9--
         Tre.a. 5ctry -f-hf".:>~?)~ b1v\f~u oF Ll+~n.Q l Qe\J'<JILIJJ(
         [vtow I.(z. 5 ·) 1n de{'~'1"'M~ cf Tr~C\5Ctf\Y
         by     A~ar')~vlt Z.ctit'oy,         f lC\Y)    Wc. 5 of l'1lf0
          wt1 rDt~    4~r~f'5 45              s    l) 'S'. C, '(03 )      +hst..
          ()~i:/PL,~'VJ~1t DtT&\1c T~<1\.-Su_,r·y Ord~.t ~O, 2.'Z.. I
          () f-- c) l{ ly l) /17:2 e_'7izct b{; 5hlC4 --f-k.st_ l6 L-\r~a.lA
          of A-lc-aCl6( 1 T6m.<Xo C\,vld. Rr~\l/1'\~ ~
         +ra.V\ ~t<c-f~cl -to ··,°t' th~ cd Cb~t6 \ q(\d tu"'c.-fl'Oyt 5 cf
          },l,,\ <c I K::;  1
                                ,
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 8 of 31 PageID: 497




       .         \'h' ~ofit€1' in-kr<:.s-f( n3                       P"' c+ is          -fl,,crf-
    r:h~              ~<::f'~"~  cf fh.sl.,T0<.,u__Sw'l \S ~}s0 tk
   ~o \) '2.[' n G"f' of Tl:,'<., I{)-\--~"f):,-tiorx:\~ N~-hry                              r ~{)(,\
   (-:i:/v\~) '1 () u.)~l; ch                    -tt11~
                                              UJ\\+-ed 'SfQ+~s. holds
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    obc,u.+ d,,{Y/6 of fh<Z s~/l in -H1 ;5 ~r)\kft~
    ~ O r pc>'(' Qi, Dn . Cse.~ 2 7 C\ SCA ~ J ~~ ~+ 5<-q)
    Ac c.o r cl[ :Zj +o            -#vz. <'u. ,~         of Cc,'11/11(011       Lcu.~1 '1--h,
    i flJv.rd           r''+t       q [61)'<._      l 5 p~M1tf-'(,,d -tc            SL-L~

    r 0~       Q      ~5S      F    c;5·   J   ttl'<... c:(O.VVIQD~ (,_,.~, ~) dz-~n~<l
    /lDT        t ~CC).-.:.-d I y 455/3~1 Q GI~~ 4,1J                    j'~ f'he...r<, ~
   Vl vl «-,Cf v..,·-f-q b{e_ c/q I (h Cl nf J 1') e_ /YlCl yOf! /y SU (,2_
    i () tf;l.z, flc\vv,«., 0 r' +vi~ ; '\) u r~J f°'                 I.VJ       r+y,
   C\C\VVl i ra (fy )hDlAJ<(,V'</' ) --jil.J2: COti-1ihCY1 {J(ac+1· c~J
   i S iD V]o.. 'i<c.- -f{-?e., Su., f- Con c{u_c-k?.J ,· •'l ft1 '<-

   n&\ vY;e.,s 0C +tee. (\<.?{ / po..rf; e6 1 I) i n+'<fes-f-.. ~ c:{
   W~teV\ G\. ~afu{-e::__ of -H,~ U{l1kd S-fq~5 5u
   Pr:.;v,·de_s }u.V\ 4c~·u'{) Por th.~ us((_ of G<q1~i+
   0   r o.viotl1'<'-t CC~a l I h~ 0<:"<~~3kt ii) -H1E:'.., ~Vr1~ 6P
    +b1~ LU\rte.d              s+~s ~ FR, e.;V· P, /1. lTh{G
   c\ t'str [C-\--       0.X.JJ'+s  prulA; fo /fee,\ (''r0VV} ~~yY~vJ+\ /)j
                                       C\[~                                 1




   \/<2.J/\J..t.:<_   0G\eJ'~ thz uv,,+~d s+~~s ~l0ts t~ ~s
  ~~() Oil<--     k4lf t?f if-5 cqp1"fC{l <;Jftc/l . .~ t< OF
   +he U\vt:+d sf({fe~ Pdnc.)~o.l ~ ~(ld ~1cl
   \ ~ ~ . ]6 u. '5, c. '1 l 34'1 > TM 'G CjDV2fi0i'n~iit
   LJi 0~Cv1N)~.,1~ ~ ~o\"'70 rC\"h.>(, (See: 25 LJ.s.c,
   'S 3ocY).. (15") G~('b)(c) :2.2 uscA 2B~ Ce.')   1


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   6('.' c~     f'l va.+e      0+i·2~V) I          t'f   (ClV) e)(~('   C.\ Se., v\.D
  tbwQ_f w\A,c...~ ~5 ~'\Dt- def1 'Ji<..c\                        ~rcM ft,,,~ Gr-~~,p-~
  C~i-e.J. ( s~ ~ Tu"-' Bo..viK..                         DP ±b?--    lJA;+~ 5+Ctt€ s-
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   y. :PlC\vite.r-5 fun IL of Geo~1C\ ~ L Ed. (wt1ea+)
  2. 4,4 ; U. '5. \J. Bu.,'r. 3 v:t u.5. 2t.t'z.). T~~
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  Clf'll Tv..s-hc.<e {\<.-./«,( c\~\\ 1'Dj<e.th~ ~r :w·, 11:%te..'s
    tJ\o.:~-iJ'f\g   I,   G:,   So. .:    a/\J. ,    .A , i5\\-\- of ct c+i o eo. V\ 11 o+                    Ill

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    .Av\ y o ~p:~ c.e(' or ~ vi pI u y(C.e. ~ -\1;a, UV\; t-e& St-~>
   qc~113 I 11             LO{)J\((,Ction         ~i'fu ~1y                         r~W\A~ \ctvJ                        oF
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   00+- ~or~ -rt'\C-V'\ S .~~\r-s cf: bDti1 · , , The <2_0Uj+  1

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    Off, c.e..f 61 qt,,1~l 01 ee..<:2o(' -rv\~ OJncwit d;'
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    StC-lNte. /O<'dl (\c.vi:JL; r~ju.lccfr0t1, cu..~tO/Vl O {' U-Sa.[f-,,1
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   Coh>-v"'\o,'·a; 5\,lbj~<-ts / or Cctu.s«s ~ he Su.6 0~~,
   0v1y ci+t2ev, ~ -tN_ uJ\:+-ea s+C{+es or o+vt~
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   d~p.rivcd1on er cu1y r,3~ts) fr,'(,j~5 )6r irn,nu11i-t,es
    S<-cu.r"(.J i:J~ fl,e. Cons-h-tufilN') o..r1c{ t~ws; Su,+ r'Ul
   equ;+y) or otvie\" p00f'<--" prcc~;n,J r-0 r c-<.vlf'es5,
   ~c.«.ft t\t1cJ- in o.. ny ac:+,On bro o. :f\t 4ua; .11 s-t C\
   j ud tq a.\ offic~ Po ~ cv, a.ct- 6C om i :5 s i' on ~¥-~
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   o~;c0 \ dtxh es \.~\ltd~ cw+itot,'f.y or 2-8 Uscs ~ ~
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   1v no s+C\.~""\ory a.~()f'tl~ to-r r-Ef '~;S~v'\tcct-i· o~
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    s+a..·ks. So w~,~~ c)o~s -tv,~ o . uthoc i'+( CbM~
   ~ 1 Ob'1LDUS(y S-k+uieJ bu+ f11e.. 5fctN~5
    hav«.,     re.,y.t tctt1<'.>/"\ S \ IY\ ~ ieM~ ~~ ~'l1 tu,._'<>'\
    re.,\J L~;\) j -1-6-x s~+u+<.,s ,+- ;s , 1>1 por+t:v,,f--lo
    yi' e_\J_) +i\'<.. 'Su f p0J1, /) ~ Ccct€... cf ~J ~"Cl\ ~ u \~D/15
   [(j:°(f) 'th<+~.__ f-rn_, Uf'd'<-dy I~°) Q0-.-\k.f;+~ ~C
   the, +,+-Iv J_f i 5 cus{--o,na.,r( ~r -fit'<- _I/2-5 -to
   Ct~ 1 pev1Cl \-n6           u..nc\   ·1 n-\-'<.f<:Sf 6(1   u.. Su.f fose.&.   -\-o..x
    d.ebt uv1J~                   ~bfol cl ~t\~ ?.-~; h0w~;
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   L,\fo,t\ \€-,\J1eu; fh€-5G reA1cd+( pr 0\{i siov,5 {;Jc_
   ~inJ. ft,1C2f Wf VLa;,\J<:?_ fo do LP,# ft!i'2.. ~v1t..1.F0cc+ur~
   Mc{ di5tri bu+i on o~ mac41iflii?., GjVt1 pc~t+s )cdco{Ao l
   or- --fcipcco fr'od~- F>r 1.ear5· t/Ji~ I~$ t?QS
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   A 1E:..\J1~v> of' J~ U, 5 .c                 ,~e.. .
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   of ~'IC re\C<.+e.5 +o ~te.. ~~n-~xC\h\~ ~~5('.:'<I'
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    oP c~t0:,1"'\          Po.J'M      \.OJ"\d, ~1<-p:x'{ers ou.t of
   lJ (\b\rv,_vtcq_ ~+ °'-·:?5, ·:1 n~ p~C,(_ \4,· <:5 C>tfk:\ , n+<.r~st
   U()de.r t\i\~ froy,s/0ri5 s~+~h Purs~c.vrt -fu ~1
   CFR, ~-\- 70~ Th,~ defev\c,aJrt lAas r~v;w~
   ~       :ms     M.. ev1J Pinds ft.tar fh<el'~G\0~
   D-f\?ro~ime\~Ay l13 clitt~~ "K,nJs ~ --tzx~ ~
   C~t~, rfou.Y~\Jzr) /OL{O '\ /5 v1ot !1s+eJ, JA- /5
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   #tz J~((f)c\C\yn-5 pas;iio0 '111~ it1e..Am~·\c.x0
   {)eof l~ ·:Ac\w:1t~ th;s ct~~&:ln+ 5UCttfJ 5ufforf
   fne\r <J)\k1't1~1t o.nJ ~~ q_\\ ~~l ~)'6·,
    t)lXt \tj~"\ fwf \~ ~ri-!:1~ n ~~{)v!RiV o_buse-, ~
    ~r\iustd_ -bti1~Y1 1-\- \'S ~ respo0.s1'bt'l!f/ oP
    \ve, +h~ Veo~ \~ 1-6 ~hist eocr u{)h 6f\ ~,ud                     1


    a.rJ -h\ef+'
             lb,     As 5f4+~          j€jt.dccfiCVJS i' /11lfl~{V\~ir
    'St-aWes              CVkt ~~      a..\"~   ::£.Yl'1~   L~~ct \   6~,f\(a/13
    S-tct-h .n j CYJ •.
           ~Lb~MQ.v'\         \J   1.1'/\ltr,\ S1~s (~) De Dtst Col)
   \l f)~ u.\o...*'C>(li) 5u.c h. Cl'S ;).G C. ~. ~. !3 30 \, 1£..t33- \ 1
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    \m pl ~e.ir,.\~n3 dl, \.) SC.S ~ 7£.t33 '5 e.,~!N,.,u 5°hufl
    (!::J'I I s iOV\ ~ \Io..\ i c\.          '2¥
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    \(e_~\U«.. Szr~ I<.:.~i S Qu-\\JL~r,+y " ' " f
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     }i::r(o,       Co. v 1:)~~r+/Yl~t o~Tre°'"su.1'16crBl De,
                   \tJ1.0~
    D;·5t- ColJ 5D9 F s~~f ·7Cfl o~~r-H)1~f)+- 0~    \t


    Tr&Ju.r'( ~\<-<-~ i-1-'s S~4<.ctorl ct\.61vtor,+-y by
     kc,ld\/\J       flq_(rrt;\j:()S   QCCOWtt£A.~~ ~ '               rt:;1'eJ\'t\O_\
    CD'i"NS1on            cP tndt vidu.cds         l0V\O 0:>1'Sw~ otVRr
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 13 of 31 PageID: 502




    wi~e.5 (J.)v~~ "1.Dt'lA~.13 fr1 ;)l u 5.c.5. s'JoS 1
    re.<j·\J..\G\.t10V15 er fh~I"' ;n,te.r~r~~-\-,on of 'S~~
    0{' C~·u.\cction.9 fro"'-i\.J1+,11J 'f'l4'tf\+1~,C5 F'rofr1
    de.s:.t\\oUL~ t\Ati~ w\11~ o..s ":, ltJ~+i',., ~, '< ct f5cJ
     See.     ~~'()) 1'\.S \l .     u :tcl StC\~f,
                                     Vl                 ~00   F   S·~r ~\.iS
    Cl~9l{)N\l)        b<-\)   lt   r~r~          cla.iM~• .,+    CA ct~k\Lt\+-
    'is vuf ~~& +o Fd~u.\ t\str;c.+ Gvr+ ~\Ji(:LU
     U-Y1~ AdMitV· fro(WUJ~ Ad- (A.PA)(!; uses §10l
    e+ ~'{· )1 \0 h~"<. ~zj )1G) C\'(J:'\Cy f ro\j 1d~d (l J~4 ~
    V1o-h02.. of
             Por~+ure.. ~ro~~\/\9S · · , b~u..s«-
    fed~&\ h)c Pedure. 5+:tlu~s wxl c'J u\ a;h on 5
    l(\lt~l~~n3 fb<eVn ~ro'<id.~ cv11P(e., 11:t~/s
    t O('   [(f-t':)q+, t1)   r~D p!fi~   6t ~oS'+ C.,\}_\C\C'    Je~ -z_~ , , ,.. I I
   Io\     Goe.,n0 " \ lai~ :5\:cxt$.S {Zoo'::>) 5~1 D5
     Lt'b1, \55 L Ed ~J 11              :3~ee.~ry oft~
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    ?~,d~~                 Was Su..~k:.:,~()\-l'f ~(~-fo
    7"5 o.porf ':,ctl~s ~ qU--«\\,Cy 0.S i nc\i.~~ co:;t
    1.A Cov111 pLCt-Qf-rqi) cf CDfYVIJ 1(Rd ~o.lole u1Wf11e 1
   o_nc:\ r~u\qJjoy1S 1Mflel}iev1±ia:J· )lo L)SC5 391~(G\J
    &~d_    fu!)f- 7~t--\o i{'bu.J O(' wh~dt(f2!' fh~CU.l~r
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    Ac._ce,leJ'Gt\-~ Cos+            ~c.o~~

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   \J.)~\·tcl\ ·, s ~0..ce.c\ , 0 ~ \ ( 1c.'0 ~ t\11~ d~-k ~
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Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 14 of 31 PageID: 503




    d~1fe\l~~")         C\,e     9u.1ot,sh~ ,n -th~ FdQral
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    F~ct\ R~1ts~ a.re, wv'Q{- r~ pt.z.v~~
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   -fi,1 i '5 i lltjfuvrf- a1 se__. Thes~ '3t4-lufe5 ar«v
    tvha.t t) iv~ rut'2.fc.tt d~,,~'"$ 0\lld. ~
   a.~-\-tt&f r'+'f OJ1C\ (qc_jL -B~~cf ~ ~v:::)\ WQ s
   -tn~ i5''5Lte.., If\ ~V\56.J V LLAd:ed Sterk~
   ..., t Fd Afp'1' 12,; l~ eo~"·r ~('d_V,+~ uV\;~J
   s+C\~5 St.411/nC\I' r J~Jjn~,1t 0(\ t(Y1p1ie&-in.-P4
  ('.b/Jh'C\d 1J'tWry ckt,fr) ~,oli~~\+ b1~~r,1 of
  -b.'f- f°'-'[ess 6t~+e -to ,~~"' +°'-)(. r~u.,., d
  ~ fl'='.)h ct.Je.q- ~t~S hC1.c\ $3,f !~
    Cl I{Ow:,n~ r~J::u..na wht.r~.~ C\.l\~ ,«-C0~uf'f ~5
   Cons.\-ft:\tn~ by -h,1v1e fim,+crl-ion rf\ % uses
    8 (/S ll (loJL'i)((3) q s cla.t m hu.d be..:zv1 ~b roLL~'ht
   Oltt5l  a~        +,me.. liM,+'thOVJ; a_nJ {~,r qfpa1~1-+ 11
   OHo~w j ~ki\ lV1 i f) Co/YffC-t vev,{i 0~1 ot' +\A ttT .
   -BN~     hm,+-od-iov,     t,_)aS   Void   C{b j,'11-t1·0 as   Ouf-St~
    Q~          s~·, ctu+t1eri'(y.. 11
            tB, 1f1e_ 5uff«.1/Y\((,       ~ i it1 .&\JvVf'\J'\?)       V
   34R b~.\&?sct:4:Tus+ G.,. Cl~?ft>)CA) C/S                       F:Ld
    BoCo 'St~S ll CtS ~e.0~\ 0u\~) r~5u.\<=t-t\()f)
    Df e"'e.c~v~ d~€.4"rt- ~ ~92J. Uidef'
    S-fzt-\uiDC'( ew_·\w,>rityr \~ Va.l\c\_J bu.t ('~·u.\a.t\O~)
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   l,.)~l.4 ~Pe.1~ +o o=\-~ ru.\e.- cu+ of' hC\f-/XB/ly
    Wl~ 9{-C\h+~ is m~ f\ull,+y.'' O!so 5::g__
    H<tl 'l e.rin~ v. 'SoJ~)l'.f)~ Tro._v\Sf, Co, (1'143) 31B \JS
   306_1 61. L Eel. 773 . UTre..'<5ucy Pa..3u./q:fiav1
    lu\\\c.1\ 1S cootr"chc-k>f~ o~ f loJf) ~'ivl 5 tVl
    P~Y~V\~        oc.,+   CO..i/\V\err ~ <c) l\}~0 t.,f{\:ct {( / ~ ,

   i' Co ,J\ cye5.s its,c:.,i ~ i A '§ d- 1 -sub sec-h:Dv1 (a..) ( 'i) ,
   d-G VSc.A. \ vtt«rV1ct l ~<oJ<J/\~ Acts l'=t ~ o ~l ~
   [02..l)   J.~\~ ih~---k_tv}')
                             irJjf()~sS ({ ql)d f-hQ.,
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    It1 Yo.ot'.\; ee..lli v Nash 3S-'i F s~i>P t'"i3
   ll   R
        · eve(lue,    Col\,e.c.,+;on pt"Oceed(n~.s a.re. no+ t'hY1-\W1~,
    f,o,'Y\ JWl CU<.\\ intefre.~ce Uf\d~-- :)(;;                   US'CS    S'1'12.. l
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    src~ hG l;..H'{~) o._u.f<A.or(+y j'(l fi?E:. /clW; C) f" else,
    So fY1~D11) ~ LJ;"° ~\.aS b~"\ ~ i lie.\ C{ u..tkor;ty i'n tl,1~
    lauJ 5; \k::~ -B,1c1+ ~~'\ 4 cl~.l~5crtioV) of' C:H,1.flr\or1ty
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    Bu,~u           oP      Alc..D~1ol To b.::ic<::D 0_1,J P,-re.Afv'n5
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    tt1e..,   siA~U. ct;. IV)~C{,  Re¥ev1ue- )rvrtTGvv)G\l
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                                  Ivrre.rlf\a. l Rw~')U'<..-
    Set-v; ce ) i n}'<...,r vlC\ \ rev~'\1.A.e s~v ;<..(.;:, J O Pt,·<:..,16. \
   Ivr\-~lV\a\ Re\l~'\u.e., ~-v;ce                 1   +~   F'eJtfc.A l
    Al colAo \ A~ Milli s·trcct1        Of' JDi rec_~r Alcal,,10 \
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    cu"e.. a.\ l one of"D°'-v'\i zqfiav, ·

              ~I,   W\rllt+- iS     +V\«.-fo;Jr\-? l).)~l\ th~~
   e~~~'5 w~re... not                cre.~k~ b,( Co"j~~s °',d
           or~6.:{\t 2.a.--\tO!ls ()r aj ~ci~S D'2 th\:..
   OJ'~ i/\ot
   D~1--+-M~t oF ih~ ~~c.\Su.ry, 6r Dr' tv,~ kl~\
    '.J)~'v1f11'<i'l\:'   Tb~      aw=r -to       [;ii,.1Je... ~       ('.jb\_~

   CVlcA 6f<::.ra~ -th~~ f "'-"~ f0us+s, +h ~
    f'h;l \. PP in_e, s.pe-c~C\\ furd Ltn-k:,1;~'\L\l rl(.V'<f\1.,\«.,) T<-u.s-t-
     fuJ0 #~ Mc\ the.. Puer+c R~c6 Trust ~l,~
   lL\ternQ\ R~\kv\u.~) Se.<e:., 3l \) SC l '3 ~ \. · lv1 e
     S~f'clo.-('y ct. --ttA~T0e,~~\..!~r y w~°'-"'5 (Y\a..V\ y ho.-\-5
    ().t; ~~ 1fl v1d oA ly +h~ d~l~+e,c\ o(-P.tc.~r -re,

    h€.?\.d. -Ml\.~ lfa~,--\-vvt~rt- of'-ft-tQ., Tre_~r'( , ~"+
   cf-fwi.-t'e-c\~\ '30\J~vV\~·tt", b~+- h€_ \ S oJ~ b -fk
   fu'<-lf v1of' ~ -0,-\'{.,, Tvrh,.r V\atiovu. \ A~lle--hry h»1a .
   A-.1'\J Vtisfur y tel \s us -ft1.ctt PotM~f' ~r<lc.:t__C'Y .
    l lo~ cl 2>~+5~"\              ·~ot oy, I'[ )~d -ftt~5 e., f os fftt() 5
   ~t' Cl \<5c., U, '5.       Gov~'l'\bf  &+V\~ rV)te.fMt.Ol?Q \
    ~., \-4. ~er          R~'Y\ s+r~l+iot17 U/td p'<_\)~{ Of m~vrt';
                                      ll,
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 18 of 31 PageID: 507




   U, S. bo\J~i,16r of' t/Ae.- A.rr,·c4.,-, Dev~.JofMevrf-
   60.n KJ \J,S, Gov~ oP th~ ~r,o..fi Devd~m~
   ~"k) \) ,$,                  oP the., A-Pr,'cqv, D!c...vZ,(tfMe1t
                       Gcvrj'V\£>t
   Fund. 1 and \),$. Go\J~. cnor C){' th~ Ewaf~i1,
   ~, ~ h)r R~oY\s+rllct-rGv"l OJkt {x.,.r2Jop:1')~1t /J.r.            1




             6+
   ~e.-vl\ <qi'\ (le..ci«.:v~ C\ Sq Io. r ( Pro)/11\ ec,..ch o;
                                        l;t~ lly /vlCl.d~ h;vi,
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  tfou..x~"' desf~ -th\(_ k.)~30,,113 it10b th€_
  ~r,d-c,.tt du6 P~r the AfrRS'i'CA/1 t'eo~~ Co~
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  o~ t\J1e., -r;~Su..f'Y w~ P.; Ad·.
  (~) po ~ S a.nc\ c\ u~ es 6f ~('-<;_A·ury,
      Cl) r(l ~~fC\\, E>ccey\- o-t\,,)e('w~s~ e,f~~s[y
      ~f'D"ideA. b~ lctwJ-r\J\ce, O.d.()'\\f\\5rc.tl1Cv) 0/1~
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      Ll.i)d<U +111(_ 0 ur-r \L; S ia,, cf tt\~ ~ r 1cir· 11111<..,
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     (_J_) Ad<$t/\\ri, sftq{1 on ~n cl ex-Ro rc~(Y) 'GV'\t o( #1 .i?.
       hJl \01..a.)\/\J 9ro·'-l 1'si6vl 5 op t\-1; s --htle shed ( k
       {)~f0f'Mu\ b~ 6(' W"'c\~ th'<- 'S0.f'(J\J\S ;<Sn of
      "ft.le- A-&rne~ Gei,10'4\ j a_n& t\ti<e.. -tel'M
          s~(:,f'<._,~(y'' or   ''~c.fe.:h·),['~   of {\\t, Tre_o..sv..r1
     5\/\o.\l) WV~ ctrpl,eA -ft> i"YloS~ frD"i St.Cy') s) l)')e~f)
     9t"A'( 6)~ the- Ath,r(le"( Ge,~l) C\flc\ th'<.- tefM
     " in~4\ rciwC\~ o(=l\ c..e_r /( -SINl \ \ ~V\~ ~~\\~
      +o -Mios~ pro'l tSiOvl5 0')~ QI)~ cff\~~ cf~
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     Q,u~~~ or Atco~L()\ TobQet.o ~d 'H~MS ~
     E>irfo5:v~s '.50 c:\es,5,lla+<l by #t~ Attorv"I~ ~ \ ;

                                   l 8.
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    c;) C\-u~"        53 [;26 US C...'5 3 596 l eA- S0:t·l (nue.L11J)Q.
    ~Ul\S)    ck5f-ru.c-\i VZ. 6~\f; C:.~$ ; c.v1d C..~\J) ofh'<-r
    ~i(~(Yl.5 ·

  (; ;) C. ha.~t<us i:, l it1 rcu.'O"' <co (,ir., U:5<::5 ] § {c,CO l <'..t 4·
   t'v\n::u.J"' 780\. tl-S4-j Qr()C_e~1J..f"e..S 01'1 Ad1'V\1J,; s+rqfion;
  -to~ e.>e-t~/'* Such C-M\*"(I'.5 ('e\qk, in th~
   ~Po('<: M'<.1/)T       c::v1d ud.m1.r) ·; stru·hu() o~ f'n~ f rD \/1Sc0v1 5
   fe.f\'..f,~ -tr, io ClC\~~(i). (see T~s'---"-'"'f urcl~
    l ?--O - 0 l). S6 the, c.,ho.r\')I{, °'~1115-f- fu ~'JQGV}t
   iv\ tv~ i f\ch c.,+m~n- ~, USc.. ~, 7J l:) (q) Pct l\ s
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    Llv"\.J~r this Qu.ftt_ortty.


             ~2.·   In       m~ Ahci·do..'f ,·tor        /0 ~'~-1/V\tx-U-'201~
    Ld.11;c:J, 1€-VV\C\i'fl'S L,,lf~vJ~.c!La.nc:l o.PF,·rl-'v1~J) "£
   fYktd e. a c l4 ~ rYl th4t th~ Tr~-s~f 1 C:CD 0.3~·\.+-
   L\;\lf' lS+-\ f\G- bc~r-\L.e, d,ct VlDt ~1~V\!.. 0.1,y d~J~~&
   0-.U.~Oi'!-t, W Co{'Cl~d- OJ\~ (/1\.J~8h~J\-h,0,, &
  -th~ def'ew:\o_vt". 0\ l\ cf Tol'G C\ )\e_,J~-cl C-!ilo.v~l:5
   s~Y\ tfDM 1n&il1iclu0tl i nc.aMe.., ~'f cla1.rvis
   6\;\ ~ms [OL/D Q,i'\cl Joqcq fv1 { 5C~. ~clin3
   f~v"56-flq, \ ~~ ,e..-fuf"nS , TueK ~ 5 not O{)e,
   ct l l~cr-Hov, t}tqt fv\e..d~wrt- nor o..v\~ \h'+~
   ·11\ -t-i,v~:\ nct d- ~ lS or tJ:.o.s l l1 \IO\ \J e4 ~ \-\-h
   tn~ ~u.~cness of' Atcd/\ol) T~cco) hre.o..fM7
   C\f\Cl E~plo si ve5. fv\-5·. ~rK~.r''~ focKe+
   COMtfYl·1-s'5/on      b~rs a_n E pc<' €,,V\h:,-rc.q~"-t-
                               ,             .       .       0
    (\{)& fi,,S ctu.-tt-torl-fJ LO\'Yle.5 c\\reci-\ ~ ~-{'ovY)

 '\ 1-G \) SC '§ 70 0 '"6 Au.-'t:i,,.or 1Ty ot' i f11'<_,,v1a. \
    f''<_).f~\.Ve. tx'\ Po ('c_~e..v* orr~cd:5.
       (a.) EtArorc.e)11Q..v\T c.,f s\>.~ttl~ E a.rid othel'
     lC-\,ws ~'(,r+°'~t;i0.'.)   +o Uc\   \)J)r)   fc~ceu .> C\(\J Ar~cw)5 '
                                    i q'
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   Avi i tf) ves+<oo:tD, 1 Ct~,t) C)(' 0-/1JIE:.r 1nte..rn<3..\ (e.A~~.')0-~
   cfr-;~er b~ W~ld~,IJ"-krrn de.Si~/)~, 1.0\;\om th~
   s~f~~"'\1 LV\c.J't)~5 w,m tt,"'-.du.+~ (:k- ~\torc.,n'J
   Qi'\~    of'f\Ae er, m; nG\\ , Se1z.1J.te, 1 Gr fortei,--h,,f€.
   f\"'o\l 1Sion5 of 'S\l.0-t-;+lt..- E. [}c;, U5C ~ Scol d-s.:9                              J
   o r a.v, '\ Dth e f' la. vv o F th~ llf'I; hl 5~a.+ils
   ~-to..t iv\ J -b tk, C..o ~ vY) c d i-h 'GS Subj e.c+ +o-tcM
              f\


   Ltndu Such Sub+rt-t e ror th~ £,nhJrc.e{Y) ~ aP
   w,,,~v,    -the Secre.f o..f'i_ ~ s res rov'\ s di) t<- Mu..1 -
   U; C.o.Tr'l_ ~1 re..o..r rns j
   (__1.) ~)(<2.C.-l.tt~ 0,,(lc\_ $1?..f\J~ se_c\.l'C\r--         ~\'~()ts           1


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   (~) in respect 11? the. pertor'Mo.n~ oP sue~ dury,
    (Y)~Ke. (.\1('€..Sf W~t\lt0-..d- ~a..M'\\rif f'or             O..J\ ~   D('(::1<.tf\Sl.?..S

   Qt)C\.,A,t        ft,~ Uo~ st~+es                           1A b;s
                                                    ColYlv\'\;+-t-ec\

   rr~  '$((.J'\C<:..) t)(' ~of' OJ'i y Pl<.,lOJ) y       cce
                                                    ni z.c:x0 le. Uv1&.~
   the.. l({w.> c.f th~ UJ1;+d S+-a..-ks rr h'(., has
   r eA5D~\D-\o \e. ~f'O~ n c\ $ -to 6'<--l \~'-l ~ fl"\('.tt-th ~                    r~~on
   i-o be o..N"~Ste.A- hq5              CoM~'V\#ed              or is   CO/v){V1~"tt1~

    5 LA.C~l Peto-A(. j Mc(
   C<-l) .' (\ re.c;~~c+ io --t\r\~ p.zrfu rncv,c~ of' SllC~ dLJ-y
     Ma\,<~ ~e1:z.LA~S cf' ~r~~<di-~ subj~+ -k> forR<,\t-
   ir> -h,'<-, UJ\~+-~a s~-kc; ·' ll "Be~ llvi1W 5t-cd-e5 V
   cS+~lill').. ·3e:,q J:'.z."~ 71~ lltfl,{s, '?/..\Cir') n w;tV\ ~
   Cl   pp~\\ ~t- ,.t f)
                   c._       LVl O~   "Ji-ru..c.M     0.G.:::e-5 S   -b ~v1.t-
    ~ /n S         etnd. d_eoJ~rvJ     ~!\   vVtolod~     coJY\/\l\oc:l«.-4-,~5
    Lu~-\-\lt -H1<G   Ot re.oJ J -t-fuV\s pot-tchov1 at lnaJ\J;
                         (Y\eA/) 5

    .~~t ?x\~Y15 l,ull~ Ju.5+~~\~a tn mdJ~~}\J etrf-ry
    -fo c.\1C'€.S+       \ r'\ C\ccor~~~            wi+-0\. ~us 6.l)..+'vtor1+y
                                        ;26    f
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    \Jfav1ted b-y          JC, l).5.c_, § 7Go'3 (b)(-z.)CB).      1
                                                                   '   4lSo
   se_.z..    l liNJ>t..d St().ks   'V   Bosfot1_330 F. zo(    C/31    0,, d c.;1,)
                                                                           1


    ,\ /Vlof<:'..oJ(a" ;?_G, \J.S,C, ~ 7(,0<g (ct)C4)jtv~      -ttr<. ~~d-5
    the.. pow~' fD         MQKe Se-iz.LAreS o(.>       pf'oF+y suh~e_s:__+
   -to       Por~~-tus~ iv th(:'..,      Uru't~J   St,-~ tA5 wc(_s +he_
     llvtf'e3i5t~€J. s+i l l l).v)de.r (')~ u,5 IC, 3 S6/5(l). ,,
   St is +~1e Jef~dan+s ?osi-hon                      ~o+-  .a,1~t-
   O'\r\S~M ~:\r~e{" diJ. V10+ i16..Ve Jurtsdid'0n
   -fo \,f\vc::.s·h':~f1~ +ttSL~d~trt cv14 f/;1qf-
   Ov1't_ a._ftd O ll ~5 cdt-s of L,lJ\a_ufkori-zeJ
    _i n\k5-k :jcx-{-ion [>Je.f''<., ; ,Yl pJO f"11')Y \AS':! iD
    1 nd1,e-t the dtl~,/~dcvi+. I 0-m C~\\11                    n\6.+
     (l'6. ~r \4t2.,r {loC: ~L~ pr6sec+i n9 crr/Dr/Je1·
     i(\~ ~ th'i'..,. qm(!& ,)urY £5t' Wc,r ,tee\ . ·.  nm
     s-k~ y Qu..-tet~~ 1+y a_(k_{ 1Jtto..f-ftrc., }f\\J~cfi9c~f,C1)
    did rtDt- (:O{h fr.\ 5~ C\{l '( jub.jc2_c+ m~r) [. e ·
    AleoLto \) l~CCO) hi'e,O,/!MS Ctv1d f3_ 'I- f (osn.Jc.5
   fb..+- oh~ is o.,.dtwriz.~i -b fnv~sfi~~- Th~'t~
                                             °'
    +U\~ ·, 1'\d td-rYRl)i- i$ not #0..~ \o i l I~ If-
     musf- btl, qU-4Sh~. ·111<2-- {Ylc:tvLlA.t\L Bfcrtes
    Ov1 ~a.~ llOO ·-40, 2.; or Af ri \ ·2.l, ['1,BCf
    C.r\M,Act\ lV\v,::~S~jll"l--1ov\ t)\l;s 10n, #le\+ ... ,<, .• -t+r<-
     L\'\M,,"tl.t ~06~~fttTO/'i Divi'sio~"' '<f19orces ~
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    '1 [, ~+-j <2.t11l f loy m~1-\-, Clv) ~ d e { 5~ -f°"-~ \OL05 · , ,
     T11volvi'n) UV\~ $tq-k_s c;+;-z:.'</"\S ,~~;d,n3 tri
     tcre.-( ':')f' CD\>-v~\e..-5 o..od n~i--e.sid~Tt-- al ,'~\S
     '-'ju.~~:\- 1b ~J~--q \ \na,i\1~ -te--'i'- ~i l (ltj ('ei u.i 1.rq'Y\~·*5
     b1d"'-v elo9 i /\J I.~N\'{lrlQ+ion C011<2~'11\ll j a\ k0d
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 22 of 31 PageID: 511




   ru\\(\3 oP the U,,\ te..cl St-~te.s Cou.0"\- of
   App~'.\ \s h:>r t\,e. &v~"\-th c.,rc\Att-> i •1 .1 F. 3{
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   (]._ u t~\of       ~or CI. b o.~~ /\+s • IV) \ ji{) d:e,d 5t;o(t e~
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  ~~\J Let\er       3t2 F.2cl !;"l5 (ifl4Qr.       lCUJ.; '' 111e.
   <3Q\)E~'(\ff)e{)t CC\(\ fot nt-\"o ()O f~~ftt\ Sfatu.te

   C-\_\.>-f'""\irtof'l .~l v'5 {}.jeJ*5 emplo{ec\ "re\' tU'\'<..

  <\dm~v\~~ov, a.nd e.n~or'c.e.(Y\er1+ cP. the in+erY1cd
  ('e..Yt~v\ ue.. laws i ]'9 Use 78oJC..ct,), as these
  c~e.l\+s w~~ -\o ~e... M a.1're3t t,,. W\L~ss
  ctU1\wr\'i--'1 ulV\ be. ~0\.\../\d \IJ\ ~(o Use 1G08 o..nc(
  Fro..v\ \( l ~ a.d-1"1.·rtS t\ne..r~ l5 sc,m~ quesi"tol) w\id-h er
  +v,i!-:, sec+1cn ~s afPL;c.C\.b~ -to th~ ev'\fu~v1i<l1+-
   cf'-h1~    \J.J°'-~i;\~   +<A~ la_ws . ~ hold tt\cl.+
   +t1~ secft0n LS \)\O+ o.rp\",c.c\ble./1 Sc> iP
   ft,~ CI.D/BAtr {I~S 0..3~ dofl't \Aa.\lt.-
   ~\,v..,\-~~~ ii-ct~to r~\y-lP ~Fote..~ wa..0~ir\J
   ~)( la.ws uJh~ clrc\. dArts-h ,1a.. ~r k~r
   ~<e..--\--t{N<- o..u.+nc{'~ -{-o ~f\VE:Sti~~e, fh~
   a€A..Acl<l-i\°tj C\f f\~},tj Clvlcl l J') c_o.J'C~ nd {c+
                                                    1/

    a..(l(t f r~se_c_Gtf~:? (J.)~11t\., .f'LCJ eV;~nc~ O('
   ·~\J '<>f' G\. clQ, 01 M fv\e c1~Jarrf- [5oQS or 1' 5
   lflvctvec\ LA ft1~ bU-5t(R55 o9 A\cJwi /TobccoJ
  MKJ~" vV\5 o-.rx.1 E )( fl OS,· \12, 5' ·
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 23 of 31 PageID: 512




   ({'t,rtir"lt V/ola-hc~qS ~o(, e,,a \ \k~n~ ctlle3ahw.;;
   Cif)c\ '1 (ld\c..q"ttu'v<\S        oP Su.ck v,·olo..-h(.')\')5 i°Z>            d~~'<.NY\,DQ.
   !'/)\j'eSt,'<jct-ft·onS- fo          b~    UOJ~,+~"~V) 1 ),v1\J€Sfi:f·t11!lj
    Suspe_c+cl QfiJY\i.~\ v1·o{a.:hon5 of 5v'-ci.A \o.ws,
    {"'~'i'hMl<'..f'ld \Aj ~rc;S~c.'"'rfi·cv, lDV'r6n (>.nf'MA-r<.~ )

    oJ)d rYl~.5u--f i'~j e.Pfe.c-hve.~ss cf t\l\e.
    i'"vesti 34+i vV) prccSLs S . ., . "

               23,        /\.A.os+ of #1~ Cocle.           ;s o.dvv\.if'\1S-t~"c\
    bi #te B~~a.c\                  cf. Alc.o~Lol yToiou.cc.o) C\nc\
                  Incl v-.J\11 j Ch9-~"S (, l fhtou..~~ 10 I
   "Rr~0..{'\1Yl5 I

   L0 h~ c:_.h is e(\ t c/'a:..fY)~'Yt-: L-1 ad.dJh'on J ). 1 C · F. ,Q ·
   tS \j.f\TFi CAnd    stC\~S 1n Subpai+ BI rx,f\nd-i~5 1
   iso. \\ ( ~~1in_3 of+~.{\~$': Ux,~w\ Sta.~S      Ii



   B\,Lfl:??\U oP A\eokc\) To\oC\.cco) C\.ric( ~,,eotm5

    orp\ c:<c.,   ·-      Bure..c:i.\,\ of Alcoko\ )Toioqc:co                1
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   F; r«.a/' ""'<,        ~ic.."(..   i11    'Vu.er+o    Klco, q       Fve./'/
   re.f~O (\      who ~-~           be~/lJ   ~f6$((CU.+-~         by    -HJe_,,
   Ivd1~.rro \ R«-,i ~v\ue... SeJ\/ i'ce.,) hQS o. cc.J~ on
  ·-tne,r It"'\ F w~,;c.~, pl-\+s                   +~V\
                                                 i /) +-00(             •i


   clCt.sS C:_; l,0~\~ c_~\ cle.s i50a+e..s tt\.Ct.t t\,,1~y ho.\Le...
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  'ii o \o..+e.e-l Q. la.w re..tq"hn3 -\o alc:.u~td > tobcco,
  or   p~('l<-C\.{'V\AS    I   In   r~ R,c:.u, The.. BATF
   has   (¥)      er. j ~,,{sd \C"-,"ttov\ wttv\~ ~') fhe,
               \/e>f\~\€..
   bord~s of; Wt~ 6t i{YG 50 s+Qte.s cf th~
   Urii+~ Sta.t~.s c)~ AMe.t,QG\ Ctk\' u'(\\OV\                              11
                                                                                  )   J


   exce& tl\ ~ursu~T of o.J°" ; M fo rf-€r of
  Q--~n·hu.b.·w,c\ a. \cd;tf>\ 1 fo~cco J f. f"<-C\C'M 5
  whr> h.{,\~_J to pq~ the. +6...'l' 6f\ "ttitose i?tt<Y\s,
                                                              o,
  As proof\ re ~e-r tD tne Ji.A\~ 3o I qcr 3 ~                j




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             ~ Ll. Fw+h~:t(Ylo(1<., i(\ Tttl~ 3 t § 3,2 \ ect) c. l) f(2-j
   the... s+aiu+e, cl~o..(' ly Ste\f-es :
     \l   ld) (_ \J T\Ae., 3'<>2f''<..-*w~ ~ -t\,vL'Tr~~S\.\r/                   fYla.'l   o.cc:~()i")
          hold.> QclM,C\\$~ al'd US"-' 'j£Pf-S dflcl b~4 u«s+s oP
           fro~Ut"{) both r~l and P'-Ll'SO,'lQ.l' i:o(' the pu..rpose o(
          <ttdt·I\~ or f 0-c1 Uti llj +-n~ ~Gr K. or th(LVe.pi.1~e.v'1t
            OP tk Tre.c.\Suty, Gif't5 Q.f)c{ b9 lAes+s Df ifo1cr,ey
          C\.rtd th~ proc~ls rrc..,:v\ Su.(eS or aHt)~s propl<,''t-Y
           fe.c1~ve.c\ C\5. 3it-tS or becruests S~1a.L\ b~
          ,dt-f>s;+eJ, 1{) tv,~ T~sury 1n ,a. 5·~~~Q.+~ tun4
          OJ)d a~a. l l b€, disbtAS'.5 ed D(\ 0 ('d~r oN\n€.. s~r~a.l'y
           oP-\-he T{'et\5L\f'l, Pcoy~+1 CACc~v+eJ ~e.r~~,s
            pCl~;jru.-p~) o.nJ ~ pr~c~s -th~<\~.6r-. su1~u b\::..
           l).Sed. C\S fl~o.,tly           QS yt'>S$1.h/~ With           -H1'<- ~,fn5
            o~me 5if't              Cf.'   b~~ ues+.
            Ci) for [-Hn~ pt,\.<'PoS'<.5 oP. +h~ /;Aero.\ \nc..om~ 1
            es~te._ ~ a.."d ~iPt ~)(:s f(D~'.\-1 0tcc~f~ j


            ~f\d~-- pct.{'Q.:j ra.p h (1) Slul l h~ CDnsiJ~"€.c\
            o.s c\. ~iPt or k>'<-1,ues-+ fo c(" fur #1e use. cl
            +he Un;+~ 6tG\tt5. I-t- b€ CovY\€_:<j cle.<--:J"'
                                                    1
                                                     '


             (1('.)LLJ   l>) h '\   (\D (),e,   cf' 11,,e    CJ'' l MI 11ct l   f~\l~\V-..Q...,

            r~u_,4.\-to(\5      t Mrl~nj &-t°'-t\.Xte.S rfl\/o(V~
            ftt'Ylti'ic...aJ\ c;+,-z.evi-S •tl,Jo..:)~ 11 1() -H1e.... ~-\JtfuJ
            U.l/\~61'\  s~tes. ~ ~ o('\ t\Ael" t;.n~s
            o_c~ CL,--n rs~- d~ecl 'v l r+s ~ th2- L\ nit€.c\ ~t~5.'
       ~L do tE:.a tiz~ tkct+:thef'<- C\.~ 1~ io'1S uf
      Cvui+ ck_c._,s/oos ;11a\rce.rq+i n::) Am~i ca..ns
      Por re.Pl). s i ,1.'.J -tz,_s i~+-- o. fc,r-hOY\ o-f'.'.--t-h~i r ,
       L~~s -!D-ti\Q- ~I ~su..('y) h0we-,i<--r I s~,t
      ·+t'-o.-tits C\. r<Z.S u. \+ e>F ~s \.A¥\"\ % 6() o A bo+i,
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 25 of 31 PageID: 514




   +10e, AO'le..ric.o..v1 Pec.'fle. ctnd. th'<., Cusl'+s,
   k,fl'tn I V)Ct'le vto pro6l~ wit)\ S4r~r--8,~
   friy   '30~4Cf'(\ tY16J1T, lt)c,l)..)~Vef w~'\~O     ;'B;
   l{j~-ts etb~s~ iv\~,r CtLr\iJLOr1·+-f uv-0.~..r- ciolor
   oP \a.vJ c~"'\d c._o..u_s«., ~, rrepos,Q.b\e.. irVJury to
    me personally i-vle" it ,s r11y r'l'3~tt-fc
   £{)~ ).L_ O\.A+- OJ\{ e.tn()lo"(              QN~'I r~~}y at
   my cl(S ,Posa.\ ·
             ;5. Be.t='o~ C\ny 1'Cf'\M1 .r1a.l 1' o.ction C~v1
   Oe~til.ef\ O,fj~111st+v,~s d~c\a.irrth~
   ~rrtLAs+ b~ ~~ ~roces_s ~~-bri' ly °'11J
    f f'OC€_(2£~{.).. rll\, 0. pre5C. q'Ylr+l6J) ts Q r~~Q l
   ·t r,~€.v1<:.<..l   or         ti,,tQt-a. P°'c.+ ~)( is+s 1
                            QS'5l.\.vY19t-rDr,

   ~s~ 6v, ft,~ ~01µ0 or ft::>V"4t1 ~~st-en~~ of 5C¥Yt~
   Dthe.J' ~+- C(' ~ ('60-~ cf ra_c-\-5. /U.o~+ r~5l..\(}1f-ti~t5
   ctf'e. ru.\~s DP ~v1d~1c.e.. Cctl(;113 fur- o,~-+:t;/)
   ~. lA\t- 1n C{:jt'v~~" G::ts~ _U,()l(2_-s5 -th~
   ad V~5 ~ ~ y oJ:~e:--~ pC\r+'t oV~CDM'<-S i+ w 1th
   of{'le.r- ~v'id~\c:~. C8Lac.~'j l0-L~ 1t~). Du..€_
   '(,oc'€55 1S +v~ Cc>Y1.c:hl.c\- o~ \~0~\ f roc~~~d\11~5
    QcCo;c\.i n_J   -{o .e..sta.1<Jl',shec\ f\.>J~ o,.nd pri(\C_~ f l€S
   -9o r tlA e.. ~ r o±ec±ioo q oJ, S;O Po f' C..\:l{Y7 ~l)f- 0£
   ~ err~ ci<j~IT:5 ~ ·t nctdc 11 3 nc.,-+i· c.~ °'nd "t\;\~
   \\\jl,-\- ~ G..~Q~(' h-e..QI'{{\~ .-., (Bl~$ ~ lt~J
                                                   I(



   my ~J'i \}~ ('(~\\-ts Q~ ~c\. ~('o__~~ OJ'\C\ .
    f r~+ec\  b~ ~ LtMs~M~-fbr-\t\a... \.lA~
   ~*'\~~~ of- /\m«.tte'5A, f\3~*s of -\-h~G«J~\
   ~\J"'<-fV\~""n~vtt O\%t-_~)(,e,, C\v\ cu-th
                                     ~~cu.~s:'
    cf-fh,s pr~nci~l~· ~veJ' ii\ t1{,s oc.ion
                                    ~S,
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 26 of 31 PageID: 515




    ·tn·e_ j'-ActJ~    tpe,u_\c\_v\\   ctdMtf- Ov\   t{;\~ ('~cord
    +mt- V\€... wct.>ld up\wld         LtiS ~ d°'"',',19 fi\)L_,
    /QS+  he..,C\C'l fi~)J a_nc{ Luo\.AlJv)~ Clv1'5\D~.l' -f{\~
    qu_~sfron l~ _I lCQS q~·f-lu\_ to O.. k,r CV\c\
    l M~N1QL          ~Cl~ll<j  s-h:tfi/13 :r n ~ -to o.sJC-
    fv\ 1 s+C\J,11ct by CoUf;E:, \ +D CMS u.X(' c1 ~11 '&-ls
    o9 lQuJ , 4AJ tke pros~c~+icn ~ lnas
     i3 tto-f~~J -the q ~es+ro11 i9th~y ho.~1n ~
    U{\ oc~+:\A    *   qf \. c~ ~ti ~ \Y·

             dG, ftow (_Q~ fh~ BATF (XRs CXD
    a~e..vr\- uf~~d. \\~' CA.th ~ ~h>fY~ onJ
    ff'~'vMi pr'tv~ r'it)~/ l;..)Vtlc:.k s~-s~~
    OC' a~?'i <'m~ 1D do) Whev, sh'<.. w~i~~tc\
    Pro\/\A -\t"~ i\'6..nd JU-''Y -t'n~ Sh~ i,°' s (lo
    G-b1'A-bry Qu.-1vlet>J'l-+f-tD pre.5~0..vl'f Po..L+S
   tD th~'\/\ r-<-\a.+d -to th~cl~doJtt' as
   Sh,e., lm flO ,\\l.•'i'Sd \ chov\ rewrd\<13 ~
   d~t~1ch11t 1 To .m~ f)Actt 3:unJ.5 l ige..,
    fQJ'ju~) or       dtskc\/t~s+t a.ttho.. \J(U"'y lec,,s+.
    Af\d /Aow ca.J"\ -M~ ~-~.t~\ a.itorv'Y<y ~M
    !) . O. -S T~i d1\J i Sial/1 f ~~..1/)t ~L-\ct-S ~rem CM
                                      by ~~-n+·
    lAJ\o..~ur; 2.cl tJ\\R.S-h_o/\-hD,')
    Cl"\r'1Sf-; ()~ Q,°'f'K~ ft> +h~ ~f'w\& j~r'y MouJtt1j
    ~ t She ho-s ,~ sta+u-tb-ry o.u.-+tt0t1i1? 4AJ
    ~ m&~~rYu~v u..'0f'5~ iA .s~,t M-1°'-)(
    D;·"i .) i o (\ -rr+l~ 2.s c. F. ~. § .11 o Jv&~oo.\
    o.clM\n(s-t. D~M-rn~'1+o~ :5~c,-Hc~ -rc-.,1< D,",·s/o""          .
                                          ,,     (',
    ,7() Gett,«.f°'\ If\S-ti'u..c.-ho{)5 - Th~ roll ow ,A 3
    f:Llt~c.tcvts a.re.. Q.S5/a Vl~ +o d_(\d\ S~'4 l \ b'l.:
    [6Actll~J       hand,\~> or Su.q~y;s~ lo~·, tbe..-
Case 1:18-cr-00505-RBK Document 74 Filed 04/29/19 Page 27 of 31 PageID: 516




  As5;s+Q{lt A+b(' f\er G~l\~.rn\ 1T°'~ Di",;) ,'ori
  (.g;d~a E. 2U<K.~'JrA."'J ~

 (_o..)   Pre, 5~txh OV'\  Md. d~"-l/1$\:. i n (.t) l cou r+s I c.rtil!v
  th~i, th'<- ..\-cu< Collrf, o.P. cJ \J il su,·+s ctnd +t'1e-
                                                             I

   hc.r111 j fl':) oC' otlA<er ~ ' c.., 5 i 11'.:) W'lckr -fh«-
                                                    0
                                                        ;.



   1n+erna.1 ,e..v~.:f\Ue lctws, a."'cl l,+i~qf./on
  re..~~\ lti nJ f; ram ~~ ~ ':) pru y,· s/o,fl s oF di'Y<!'
  fJ~~\ ~~s ~Kc~ptctvd (-o;R1tute L"\~
  c_jy,' l y~Ml+1-1m+r~rs a,r(si<13 UV\cler l°'-ws
   re\a.4'1t')-tv U<9, uor, (la.1'c.o+{c5, ~v'Y'>b [;n5 ct0d      1

  ~c~_oJM5 ci55;=?"-e..c~ iO -th~ crfiYl incd Dt\J; :3 io()
   by §. 5·5(,cl)).
  Ch) U'LM1(\4l f)('o~'<.E'..G\in~)5 c~s'iStnj U"1de.r th~
   l {)+~fl{)G\.\   ,~\l0f\Ll<t     ~,~t ±hs:,, fu i lcwi,rt~ ~
                                  lctLDS J
   Pr()c~edi n5s f'd'to..,(\\l~ -ln miscoodu.ct of I, R· 5 .
   .pefSOf\ f\ e, \ 1 to ft.U< €.j Of\ [ ,- qU.0{' 7 (\oJ' c..o-h' c 5 1
   Pt t~u..\"'uY15) eo; J,- op'((Y---t~c.1 ~Mb Un) (\J)d oJnus-dn~
  (Yla.C~l\\1€-S~ Jdl'l~      f-o {i:)o...5€.;f,nj; rorc..\bl~   f'e5c.u..~
   S-erz.1:J .,, L.2b 0 5. c._, ·1-2.\ ~Cb));       Corru..£+ Qr
   .~or-/lb\e:. i'o±-€sef~r-'<i\(:~ l,)r\:\l':C\if\ of{:,c..~ or
    ~Qlo~((_~. oc_+;ns, w,der ~e., L./\~nct\ ~ev~~~
   1~~)S (2G \).S·L.· ]')..\L(Q))_ it (_~~is m;ne..J
   Diel tt)~        p0e>s~ t.d,ol)   te.~ in
                                        111&.. cjrc:v~c\
                                                  PotYV)

  J uJ' '(    ~+-
               ~ ~f f'(.\MSL Coutf' j 0-sfi ce S Th4-"t-
   W \'~ 1{'\~S ~J\.t\ q-tion r:1tlo1d ~~ -fo
    ?('os~~-\--~ O/)'G of'~ d\a.J'56 fhe.) i1K/udd
    tf\th~ 1/\d1~f7 NowILtv'\MS~qcl WJi1
    +i,1~ .pros~c-\t10r A,d flDt             \l~P,~,t
                                 ~\~c:f,S Lli0~r
    66:1~, w1J~ ?tins cttk~ p~ tt'0 or: ,f2.J'Jury ·
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    ~f po.~~:)1           +h«.__ f (o S<::e-t..fi~            ctth>{Y\'i',~S,
       ~f\)o+ fh:~+-ht~~ do Act };\a_v~Jur,sd ic:nC.i/)
    -t-o OlaJ'J"<- ~~ c\~Janf- with ~~ U.s.C,
     l'l \~(q_). A,d          Ms. Bo;ll~r          1
                                                       '   ~cl tt fizq_t-
     h<U' a.LL-\w,ri+y. ooly ,'?.,led~ ~ ,'+b~eol ,To~co
   OJ'\d Rr~.cU'uY'\S ~ C1'1 rn~5 1 Su -Ht<--'( d~dvrt
   +~J ~ th~ j r4v1J JUJ'f, r\{\c\ ll~tii'\~r P)~I) 1D
    ft> k\~ i\;\'<.. ff'Dyb5e& J\JJ''( -H1l9,5~ ~cf5-

                ~l,     Tho.. ~~e& Src:+es A..\-torf11<.;y ls
    ~''-ua.\ ,'17+\~ fu le,?<.. Di\l, s 16v;, CJ;\q~ Y,
     fct3e__ l bJ Qc_-t"()b'C-4'' l; l'168, (,-4.?70, Ci,~11\~~\
     Q~·v1Stuv"' ~~f6A5i bi tit~, Stqt~s ·.
                           M,
            \{ The., C.ft )~<.\\ t>h) ~siav) i"°'5 lrM1'M
    resfo~'15t- ~t1;+y b' t' tk.e.. pro 5'C.Cu.-h'on cf
    0 ~tt5~S in Y~:m 5~t<A b'i -HA.Q.. J:. R, 5 · Ttzoyz
    ct~e.A~S ~ \             ec\s~ V1~otqhu,'\S 1i\'Joht'in~
     ltet,U..Of ~~, (\@C.0~5 i ;3r4.vrtf iu. )(: ) _(:L <'~af M9 -
               ~r,
                                                                          1


     t,u-\.0 nJ J G\J1d. CO\() -Of~~-<& ~u'r,b\lnj C\f1c\
     O-.fV\U.S<:::AY\'-2.rrt l'Y\.<X'-hin~s j .Mal ~ea..~o./,ce
    o9~~S€.5       Cc>Mtv11tt€d b~ I{2..S p'<l'sonl)~\) gf'~\bl'<-
    r~s::.iA'I(, oe Seiz.~1 pf':)~«j+y; Corr~ft Df' ~rc.,'ol~
     i/)'NJ"'~er'<.:nc.'(, w: th a_r\ &P, c.,C2J'""I             y~
                                                           6f <.v'Vlp\o
    o.c..-HPfJ urJer +11~ t~*1'(K\l         f'ev'<l11u\~ la.u>5 1.....
     ~e C., f". (2._, 5"2'..c. D.70."            ~wfh~(Ylt.Y'Q,,

   (~S~v"'c\,\       cl.~~~\5~5     t\,\qt ti\.~           ~l_M-ljY\~tt-   of
   ~S~~-1 tµ\,\€x\ f'~C'~~~.113                ra.s /          O~~S \()
    (\f"'\    ct\+.cr e_~o O{\ k)~~cdf cf; tvv,a.+,& d\:.ScJ'tW
                                           11
   C\~       -f-\~ h&,0~,ru.\ t\"'"*°";\.-~ esfc\Dlis\1e~
   W\d~- +reG\+l~.5 D(\ ?r-,\l~ 10~(\Q~MC\\
   \4\0 L1-e Gf: R· o.s·o), a{)c:l ti-ictt s ~
                                J9.
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  c\,~11''tc+     C.ow'ts; \j;a.. the_ v°'rio~s a_c{cpted O.cls
   \ M~lqV\'4i~       'o~ ~~ J't-a..+<--s. 1 qcco,"f\Cc\Q~
   f 01'(q_~ \/\-le-rf\:~~Mo.\ l°'l0                cs~~
                                               ''C.ow'\PUct or lows·((
   a.s    °'- '5L,L6CAk5or1         tu \,s~+~s ,-, tn Af'(IQJ'iccv,
   ':Y°'W"isrrv~~(:~ .2c{         J.
               IV\ ~Jt'f-t6A -tD ~ P.or.u=jo\0.j
              ~8'
  Jw,tsdk+{uf\ S)~,/~V\~CA \\ ~ or-rt,~ Un~+w. S~5
  C\.ricl Pd~\ e->/Y\~ lo1€£'S 1.s l1M~ -fo th'0
  D;stf'tc..t of uAwYlbtc, CV)ct. U;\~+~ct St-ctte..,s
  ·t<(_,' <' \'"tO !' \ ~ l a. A.d ti'l~.f~to I'~ h l\V'<...   nO
  Juti$d\c..tto~'t 0r. Pore~~              \d.\.0   t() At\~/rtic..,    ~f+1      1

   N~ Je-tS'<>'{ · Iv1            0...   c:p\J~fliY\Etrt     \}JO.)'~   fv..lJ)lisi1~
   \v'\ IC-f51-h+~, n °TW't5dt·c-tioVJ O\ie.r fed'<J'Q\
   Ar~~s   \t\J t~,J\ S-to..-t«.s ~ i2.<c-f~"'i" oP ~d ~~JV\~~ l
  Co,nvvt1·it-ee h,r -H1((., Sh>di d.' ~V.i'tSdletiO))
                                               11
                                                                            o~
  FeJe.ro.\ AsQ.°'-S Wt+k~i/\ <Sf~<i, ~«- ec>MM~-tr~
  stcti-ed~ l'The. cbv\Si1~-ti6J1 r}-x~5 exf~S
  f'eGocj{'t,\,t-\6n -to b~ one f(\ePu11s of fQ.Je;,~\
   Qcxr.A~ si-hC;/)  oP [€.~Ji'5 fcd-i ve J.ltri5cUc11cv, - h y Sfq_te,
  CDV'\ 5ev.+ (.)/\ct~f A!'-Mc.Je. rJ ~-fr0v1 b, cJa.u.se ll ·
  ~sf:c.t::, .Mc Le.C\v\ s~3es~G\ thqt +hec
   [o v'\ s+1tu.--hof\ f f'oy; dl(.Cl .5o(e.. cno:l~ Pcrffe~r-
   o P.   JLt('~sd1cftu~   1
                            \             th~+- /f rn/5 Mode_
                                /c''t/."?' QJlc.l>
   i 5 not pf.{,\SLl.<2.d1 llD ff'a.vtJf'cl' 0/2Ju__l\/5clt'c/-/ul)
   Cet () ~ 1.,( e_ p(q C ~ .l ( Cll 5 ° s             'Q_
  P~le. Y· l±ctMMol'ci l. i lll .2d GB,                        LL5 ~.E, .1~           33l Cl£tS3)
  ~Anifu:A S-\-aJe.s ~t a.l v. Soh we.Lb~ Lou-_rf oP Civ; L
   Af pe.ct \s
             le-x °'-S 1 ~lb\) .2 3 l ~ 9,L{
  .£cavYlecK Vr s~Mt..K L7 Kq(\,           I               Apf .2-J 5731 57, .. 71,
   £ 4 o p .iJ            5' 5 3     Ct i 41)
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             ~<t,    J:";r fhf(_, Pore_Jo,n3     reQSO{)S      +"11'5
     Q(2_-n'°'/\    s i,ou.Ld lo e..., ct~~ m \ss ~ ;Mf\l'leA ,o.k (Yi
CV1J +h'<-   d~~dwrB fr1\/ct+~ propu+~ r~+~rc11~c\"
      t\n y 6rVl E:,f' f'~u. [i- Lui 1\ b~ G\ W<'.\.0fe c{}.
    \J~t ue_q_b \~ f u'b\~~ r€.,SOJ-.r~«-5; Pe.cf l<z.5 ii<Vl~     1


     Qn4 °'\low t\,)Q..., MDy; /1~ par+y to eon+, (\Vt,
    fl> \t Io \a._te.- -th-e, v\.~hut'J O\J1ti ?r; \Jate_ r tf) h-h,
     cvid C'DAtiM<;t, -h da..m~~ fhe.. cl~c:Mt.

                                   P~s r~c1h;J\'(   >



                                        K~f\V\~~ ~o__\,\\ 8'<\~Dt'~ 5r.;
                                       ~vt-tkoriz..«J Re,ft~..se.Ata.+i v~
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